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                           Exhibit 1
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From:                Anthony Christina <achristina@lowey.com>
Sent:                Wednesday, February 8, 2023 4:05 PM
To:                  William B. Federman (WBF); Kennedy Brian; A. Brooke Murphy
Cc:                  Christian Levis; Johnathan Seredynski; isloss@sgtlaw.com
Subject:             RE: Nelnet


Hi Bill,

Thanks for reaching out. We spoke with our co-counsel, and while we appreciate the offer we do not anticipate needing
too much help and are comfortable with the plaintiffs and states we have.

We are still evaluating whether to add OSLA. In the event that we do, and your plaintiffs wanted to join our case, we
would obviously want for you to be involved in all aspects of your plaintiffs’ discovery, and we would likely seek your
assistance with Oklahoma specific legal questions.

Beyond that, we think we are constrained by the Court’s order limiting leadership and work to the appointed firms.

Let us know if you want to discuss.

Thanks,
-Anthony

Anthony M. Christina
Lowey Dannenberg, P.C.
215-399-4782 (Direct)

From: William B. Federman (WBF) <WBF@federmanlaw.com>
Sent: Wednesday, February 8, 2023 1:35 PM
To: Anthony Christina <achristina@lowey.com>
Cc: Kennedy Brian <kpb@federmanlaw.com>; A. Brooke Murphy <abm@federmanlaw.com>
Subject: Nelnet

Have you visited with you co‐counsel yet?

I would like to move forward with an agreement to work together and if so how, F&S’s role, use of our associates
experienced in data breach cases (lower billing rates), help on the consolidated complaint, plaintiff vetting, additional
states you want covered, demand on Nelnet (and EDFinancial/OSLA), document review, term sheet, mediation, etc. An
early action item would be to get Defense counsel’s authority for us to discuss with you what happened during the
mediation and get a follow up mediation on calendar.

Giddy up.

William B. Federman
Federman & Sherwood
10205 North Pennsylvania Avenue
Oklahoma City, OK 73120
Telephone: (405) 235‐1560
Facsimile: (405) 239‐2112

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 ‐and‐
212 W. Spring Valley Rd.
Richardson, TX 75081

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